 4:10-cr-03092-RGK-CRZ         Doc # 39    Filed: 03/22/11      Page 1 of 1 - Page ID # 67




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )                      4:10CR3092
                                           )
           v.                              )
                                           )
DAVID W. SEEVERS, MARCELLA M.              )           MEMORANDUM AND ORDER
SCHARTON,                                  )
                                           )
                  Defendants.              )

     IT IS ORDERED:

     1)    The government’s motion for status conference, (filing no. 37), is granted.

     2)    Counsel for the government shall promptly contact my chambers and provide an
           attorney conflict list for this case.

     3)    A status conference will be held on March 25, 2011 at 2:00 p.m. before the
           undersigned magistrate judge in Courtroom #2, United States Courthouse, Lincoln,
           Nebraska.

     4)    The defendants, their counsel, and counsel for the government shall be present at the
           status conference.

     5)    The trial of this case, currently set for April 11, 2011, is continued pending further
           order of the court. A new trial date will be set at the status conference.

     6)    In the interests of justice, the time between today’s date and April 11, 2011 remains
           excluded for the purposes of the Speedy Trial Act because defendant Seevers was
           granted leave to retain new counsel on February 14, 2011, but since that date, no
           attorney has filed an appearance on his behalf.

     DATED this 22nd day of March, 2011.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
